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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 DONALD BRATTON AND DONALD                     §
 MALLARD, INDIVIDUALLY AND AS                  §
 REPRESENTATIVE OF THE ESTATE                  §
 OF JERVIE MALLARD, SR.,                       §
 DECEASED,                                     §
                                               §
                        Plaintiffs             §
                                               §
 vs.                                           §   CIVIL ACTION NO: _____________
                                               §
 UNION PACIFIC RAILROAD                        §
 COMPANY; PASTOR, BEHLING &                    §
 WHEELER, LLC; AND                             §
 ENVIRONMENTAL RESOURCES                       §
 MANAGEMENT SOUTHWEST, INC.,                   §
                                               §
                        Defendants             §

 Defendant Environmental Resources Management Southwest, Inc.’s Consent to Removal

         Pursuant to 28 U.S.C. § 1446(b)(2), Defendant Environmental Resources Management

Southwest, Inc. consents to Defendant Union Pacific Railroad Company’s removal of this case,

Cause No. 2021-30439, from the 270th Judicial District Court of Harris County, Texas to this

Court.

         Signed July 2, 2021.


                                          /s/ Franz Michael Stenglein
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